Case 1:19-cv-02381-LTB-MEH Document 126 Filed 08/04/20 USDC Colorado Page 1 of 5




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO



   Civil Action No. 19-cv-2381-MEH

   WALTER CHARNOFF

         Plaintiff,

  v.

   NANCY LOVING d/b/a ARTSUITE NY, STUDIO 41, LLC, DAVID HINKELMAN, ISP
   HOLDINGS, INC., ALICIA ST. PIERRE, MARTIN ST. PIERRE

          Defendants.



     PLAINTIFF’S SUPPLEMENT TO RESPONSE TO DEFENDANTS ISP HOLDINGS,
   INC., ALICIA ST. PIERRE, AND MARTIN ST. PIERRE’S MOTION TO DISMISS FOR
       LACK OF PERSONAL JURISDICTION AND FAILURE TO STATE A CLAIM


         Plaintiff, Walter Charnoff, files his Supplement:

                        I.      BACKROUND AND LEGAL ARGUMENT

         Defendants ISP Holdings, Inc., (“ISP”), Martin St. Pierre (“Mr. St. Pierre”), and Alicia St.

  Pierre (“Ms. St. Pierre”) (collectively the “ISP Defendants”) filed a combined Motion to Dismiss

  for Lack of Personal Jurisdiction and Failure to State a Claim (the “Motion”). The Motion

  focuses primarily on the issue of jurisdiction under Fed. R. Civ. P 12(b)(2) and only seeks

  dismissal under 12(b)(6) with respect to the unjust enrichment claim. The ISP Defendants base

  their Rule 12(b)(2) arguments on two separate, but related contentions: (1) Mr. and Ms. St. Pierre

  were merely passive investors through ISP, nothing more, and (2) because their interest in ArtPort
Case 1:19-cv-02381-LTB-MEH Document 126 Filed 08/04/20 USDC Colorado Page 2 of 5




  LLC (“AP”) was represented by ISP, its limited-liability shield must be overcome to establish

  jurisdiction. Both contentions are flawed, however, and addressed in turn.

         The first contention was supported by Affidavits of Mr. and Ms. St. Pierre, attached to

  their Motion as Exhibit A and B, respectively. In Ms. St. Pierre’s Affidavit, at paragraphs 13-16

  and 18 she swore that she never held any management position, was never employed by, never

  signed any contracts for, never exercised any control over the business practices, and no authority

  regarding the sales, with respect to “Art Port, Artsuite NY, or Studio 41.”

         Yet, Exhibits 13-17 and 21 to Plaintiff’s Response show these statements were false,

  because Ms. St. Pierre is and has been the Sales Director for “Artsuite Gallery” (“AG”), which

  has the same address, contact information, business, and employees as AP. AG, as Plaintiff

  explains in the Response, a fictious, false name that is neither an actual domestic New York

  entity, nor is it a foreign entity registered to do business in New York, where AG is purportedly

  located. Pl.’s Resp., § III. B. Plaintiff further established that in Exhibits 13-17 and 21, Ms. St.

  Pierre engaged in the discrete, continual activity one would expect of her position: meeting with

  customers at the gallery, setting up and managing exhibitions, and managing sales.

         It is thus clear that Ms. St. Pierre’s Affidavit was an ill-advised attempt at artful drafting to

  deny her predominant role in the gallery that operates under, and can lawfully and logically only

  operate under, the New York entity that is AP, by using the fiction that she worked for AG.

  Simply put, because AG and AP are the same thing, the Affidavit is false. Additional evidence

  beyond that in Plaintiff’s Response supports the fact that AG and AP are the same.

         First, at a recent discovery hearing, counsel for the ISP Defendants admitted, to the

  undersigned’s disbelief, that Ms. St. Pierre’s was a “volunteer Director of Sales”—even though

  she was “volunteering” by counsel’s admission to protect a $500,000.00 investment—and that



                                                    2
Case 1:19-cv-02381-LTB-MEH Document 126 Filed 08/04/20 USDC Colorado Page 3 of 5




  somehow, by some unstated legal principle, immunized her Affidavit from being false or

  materially misleading.

         Second, the undersigned repeatedly emailed counsel for Ms. St. Pierre, to confirm whether

  AG and AP were the same, or if different, how. In a recurring theme, counsel simply ignored the

  undersigned.1 See Exhibit A, Emails between Ian Hicks and Tom Wagner. Third, in recent

  discovery responses, AP admitted that Ms. St. Pierre worked on a day to day basis handling

  operations for the gallery that operates under the AP name. Fourth, in a recent conferral email

  regarding those responses, counsel for AP admitted that AG is simply a d/b/a for AP, which

  echoes a prior email stating the same thing, and most critically, that checks for art purchased at

  Artsuite Gallery by customers were made payable to AP, the only lawful entity. See Emails,

  attached as Exhibit B, Regarding Request for Admission Number 6. Fifth, in response to

  jurisdictional discovery, the ISP Defendants failed to produce any documents reflecting the true

  entity status of AG, and deferred to the very same public records from the New York Secretary of

  State which show that, under the authority and arguments cited in Plaintiff’s Response at § III. B.,

  AG has no lawful existence, purpose, or use.

         Sixth, the bill of lading that Plaintiff received when the disputed art was shipped to

  Colorado, without notice, says that it was shipped on behalf of Artsuite Gallery, even though it is

  undisputed Plaintiff purchased from AP. Seventh, the signed lease for a business operating as AP

  was executed by Ms. St. Pierre as a personal guarantor. Eighth, the responses to jurisdictional



  1
    The same thing happened when the undersigned attempted to offer a solution to the ISP
  Defendants’ refusal to be deposed as fact witnesses by offering to waive any argument that their
  appearance for a deposition impacted jurisdiction (a rather specious argument that the undersigned
  would never make in the first instance), to allay a stated concern of their counsel. Despite repeated
  emails asking if that would resolve the issue, no response was given. Those emails are attached to
  the response to the ISP Defendants’ Motion to Stay. Such failures to respond or have meaningful
  dialogue has the air of gamesmanship, unnecessarily increases attorneys’ fees, and wastes time.
                                                    3
Case 1:19-cv-02381-LTB-MEH Document 126 Filed 08/04/20 USDC Colorado Page 4 of 5




  discovery show that tens of thousands of dollars in payments went from AP to ISP, the only two

  owners of which were Mr. and Ms. St. Pierre, and Plaintiff should be entitled to discovery

  regarding whether that is his money for purposes of showing unjust enrichment and a benefit.2

  This validates, potentially, the allegation that Ms. St. Pierre instructed Ms. Loving not to credit

  Plaintiff with certain paintings as damage replacements to protect her investment and her income

  from that investment. Ninth, even if Ms. St. Pierre was a “volunteer” director, that term is not

  synonymous with “uninvolved.” In fact, the Response shows she managed, directed, and handled

  the business affairs for AP.

                                        II.     CONCLUSION

         Accordingly, Ms. St. Pierre was directly involved in AP’s business, and indeed, managed

  that business, and the disputed evidence establishes that she tortiously interfered and conspired

  against Plaintiff, proximately causing him to suffer damages. With respect to Mr. St. Pierre and

  ISP, the disputed evidence establishes he received a monetary benefit from Plaintiff’s wrongfully-

  obtained and retained monies, knowing of that wrongfulness, under circumstances that make it

  unjust, supporting a claim for unjust enrichment. These circumstances and contacts, in totality,

  are more than adequate to support the assertion of personal jurisdiction over the ISP Defendants.




  2
   As explained in the Response to the Motion to Dismiss and supported by a Declaration, Ms.
  Loving informed Plaintiff that Mr. St. Pierre and Ms. St. Pierre were paid some of Plaintiff’s
  purchase funds and knew that those funds had been wrongfully obtained or wrongfully retained,
  and knew the specific facts relating to why holding onto the funds was wrongful, yet still kept
  possession of the same. This is more than sufficient to state a valid claim for unjust enrichment,
  and that claim is highly fact-specific and improper to dismiss on a motion to dismiss.
                                                    4
Case 1:19-cv-02381-LTB-MEH Document 126 Filed 08/04/20 USDC Colorado Page 5 of 5




          Dated this 4th day of August, 2020


                                                      /s/ Ian T. Hicks, Esq.
                                                      Ian T. Hicks, Reg. No., 39332
                                                      The Law Office of Ian T. Hicks LLC
                                                      Attorney for Plaintiff
                                                      6000 East Evans Avenue, Suite 1-360
                                                      Denver, Colorado, 80222
                                                      Telephone: (720) 216-1511
                                                      Facsimile: (303) 648-4169
                                                      E-mail: ian@ithlaw.com




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this August 4, 2020, the foregoing Supplement was

  filed via CM/ECF, and served upon the following:

  Shoemaker Ghiselli + Schwartz, LLC
  Elizabeth H. Getches
  Cynthia A. Mitchell
  SHOEMAKER GHISELLI + SCHWARTZ LLC
  1811 Pearl Street
  Boulder, CO 80302
  Telephone: (303) 530-3452
   FAX: (303) 530-4071
  Email: lgetches@sgslitigation.com
  Attorney for Defendants

  Thomas H. Wagner, #38135
  Anderson Law Group
  7385 W. Highway 50
  Salida, CO 81201
  Telephone: (719) 539-7003
  tom@anderson-lg.com
  Counsel for Defendants Martin St. Pierre, Alicia St. Pierre, and ISP Holdings, Inc.




                                                              s/Ian T. Hicks, Esq.


                                                  5
